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Exhibit 3
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Kathryn Diemer

From: Kathryn Diemer

Sent: Thursday, September 7, 2023 4:24 PM
To: Evans, Joseph; Griffith, Greer
Subject: RE: Alec Gorge

Dear Mr. Evans and Ms, Griffith:

| have spoken with Mr. Gorge and he is willing to stipulate to an agreed upon date for the 2004 examination. In order to
provide your firm sufficient time to provide us a stipulated order to review, obtain the 2004 order, and to allow Mr.
Gorge sufficient time to thoroughly review his records and provide any responsive documents, | have cleared the
following dates for both my calendar and that of Mr. Gorge: October 30, October 31, November 1, November 14 —
November 23, 2023. As Mr. Gorge lives here in California, the 2004 examination will need to take place either by zoom,
or here in Northern California. We are happy to offer you the use of our conference room if you intend to have the
examination conducted in person. If you intend an in person examination, and do not feel comfortable having it in our
offices, our building has independent conference rooms, not allied with our firm, down on the lower floors.

Please copy me on any submissions to the Court concerning this matter.

Please let me know if you have any questions.

Sincerely,

Katie

Kathryn S. Diemer, Esq.

DIEMER & WEI, LLP

55 S. Market Street

Suite 1420

San Jose, CA 95113

Due to the lingering effects of the pandemic, please serve all documents and all correspondence by e-mail
as our offices remain open electronically.

Tel: 408.971.6270

Cell: 408.506.3507
